            Case 22-00211-NGH                   Doc 3       Filed 05/18/22 Entered 05/18/22 16:17:49                                Desc Main
                                                           Document      Page 1 of 12
B2030 (Form 2030) (12/15)

                                                        United States Bankruptcy Court
                                                                     District of Idaho
 In re       Wellness Enhanced Lifestyle Living, LLC                                                          Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,362.00
             Prior to the filing of this statement I have received                                        $                     3,362.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:
                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                  See attached engagement letter.


                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 18, 2022                                                                /s/ Matt Christensen
     Date                                                                     Matthew T. Christensen 7213
                                                                              Signature of Attorney
                                                                              Johnson May
                                                                              199 N. Capitol Blvd, Ste 200
                                                                              Boise, ID 83702
                                                                              208-384-8588 Fax: 208-629-2157
                                                                              info@johnsonmaylaw.com
                                                                              Name of law firm
         Case 22-00211-NGH           Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49             Desc Main
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9
                                                  Document  Page 2 of 12




            ®             JOHNSON MAY
                                Attorneys & Counselors       ^^
                                                                                       MATTHEW T. CHRISTENSEN
                                                                                      MTC@JOHNSONMAYLAW. COM




                                                      April 26, 2022


           ENGAGEMENT LETTER

           Via Email Only (rvan. haller(a),smail.corn)

           Wellness Enhanced Lifestyle Living
           Ryan Haller
           PO Box 1755
           Eagle, ID 83616

                   RE:    Wellness Enhanced Lifestyle Living
                          Chapter 7 Bankruptcy
                          JM Matter No. 16579-001

           Dear Ryan:

                   By this letter I am confirming the terms of your retention of my firm. I am the responsible
           attorney for this matter. However, I may delegate or sharethis responsibility with other attorneys
           in my firm. I will endeavorto keep you reasonablyadvisedofthe participation by other attorneys
           in my firm.

                  You herebyretain andemploy JOHNSONMAY to represent Wellness EnhancedLifestyle
           Living in a case to be initiated under Chapter 7 ofthe Bankruptcy Code.

                  The legal services to be rendered are as follows:

                  (1)     preparation and filing of a petition, Statement of Financial Affairs, Statement of
                          Intention, Means Test Statement;

                  (2)     attendance at all meetings of creditors in the bankruptcy case;

                  (3)     negotiation of any pleadings required to reaffirm your personal obligation to pay
                          any debt or lease;

                  (4)     attendance at any hearing on a motion seeking dismissal of your case under Code
                          § 707 (b)(7);
                  (5)     handlecommunicationswith creditors duringthe pendency ofyour case regarding
                          claimsthecreditorsmayhaveagainstyou (butnotpreparingor filinganyobjections
                          to claims unless we agree to that separately); and
          Case 22-00211-NGH            Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49                 Desc Main
                                                   Document
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9     Page 3 of 12


           Wellness Enhanced Lifestyle Living
           April 26, 2022
           Page2 of 4


                   (6)      if required, attendance at any reaffirmation or discharge hearing.

                   It is possible that the trustee assigned to your case, the U. S. Trustee or any creditor may
           file a motion seeking dismissal ofyour case. Ifthat happens, we will appear on your behalfat that
           hearing. However, there is no way, because ofthe undecided state ofmany parts ofthe Bankruptcy
           Code, that we can promise you that the outcome of such a hearing will be in your favor, although
           we will use every reasonable argument and evidence to obtain that result.

                  It is also possible that a creditor or the U. S. Trustee may initiate a lawsuit to deny your
           discharge or to determine the dischargeability of any debt. At this time, that is excluded from the
            services described in this contract. If such a suit is filed, we will discuss retention of our services
           and related fees and costs as appropriate and necessary. You are not under any obligationto hire
           us or any other firm for that work, or to pay us for its possibility.

                     In consideration of the legal services to be rendered to the undersigned by JOHNSON
            MAY, you have paid to JOHNSON MAY, the sum of $3, 700. 00 which includes the filing fee of
            $338.00. We acknowledge receipt of $200 of this sum previously. We have discussed the
            restrictions on compensation set out in the Bankruptcy Code and you understand that
            representation that occurs after the commencement of the bankruptcy case, may not by law be
            included in or charged against the monies paid to JOHNSON MAY prior to the Petition, and that
            such services described above and subject to this agreement that occur after the Petition will be
            billed separately at the then current hourly rates for attorneys of the firm. Post-petition charges
            for legal services may be paid only from monies that are not property ofthe bankruptcy estate and
            that are earned by you after the date on which the bankruptcy petition is filed.

                    In the event there are additional creditors or assetsthat need to be addedto your petition or
            schedules after the initial petition and schedules are filed, and the additions are necessary due to
            your failure to provide us the required information prior to the initial filing, there will be additional
            attorney fees incurred (at the hourly rates depicted on Exhibit B attached hereto) for preparing the
            filing the amended schedules or statements. In addition, the filing fee ($32. 00) for amendments to
            the schedules or statements will also be an additional charge.

                     The flat fee described above to prepare the bankruptcy petition, schedules, and additional
            required statements is based on your cooperation in providing us the required information and
            documents in an organized manner. In the event the information provided to our office is not
            provided in an organized format, such that we must expend additional time simply organizing your
            documents, you will be billed hourly for the time expended to organize your documents, at the
            hourly rates depicted on Exhibit B attached hereto. These additional fees MUST be paid prior to
            the filing of the bankruptcy petition. We will endeavor to provide you with as much advance
            notice of these additional fees as possible.
         Case 22-00211-NGH             Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49             Desc Main
                                                   Document
DocuSign Envelope ID: 1C743055-8A05-4632-828E-727CC7271CD9    Page 4 of 12


            Wellness Enhanced Lifestyle Living
           April 26, 2022
           Page 3 of 4


                  It is understood and agreed by you that you have not retained or employed JOHNSON
           MAY to represent you in any adversary proceeding, contested matter or lawsuit that may be
           presentlypending,orthatmay becommencedafterthe dateofthis agreement. Shouldyou request
           representation in any adversary proceeding, contested matter or lawsuit, you understand that any
           such legal services will be in addition to those described above and will be billed to you at the
           current hourly rate for attorneys of the firm.

                      You further understandthatthe representation described in this agreementdoes not in any
           way guarantee or represent to you that a discharge in bankruptcy will be obtained or that all debts
           from which discharge can be sought will be included in any such discharge.

                      You also understand that the fees described herein relate to the filing of the bankruptcy
           petition and appearance at the hearing or meetings described above. The fees described herein do
           NOTcover any sort ofpost-petition planningor questions/discussionsregardingyour future plans
           now that the bankruptcy has been filed. You will be billed separately for any post-petition, future-
           planning questions or representation.

                      This letter and the enclosed exhibits constitute our engagement agreement with you.
           Together they establish the scope and terms of our engagement and inform you regarding our fees
           and billing practices. The chapter 7 bankruptcy agreement constitutes our entire agreement
           regarding the current scope of work and may be amended only by mutual agreement confirmed in
           writing.

                      If you have any questions, or do not agree to the fees, or terms of representation, please
           contact me at once. I have enclosed a copy of this letter for you to keep. If you agree to these
           terms, please indicate your approval by signing below and returning your signature to me via email
           or fax with the original to follow via U. S. Mail.



                                                           Sincerely,



                                                           Matthew T. Christensen
                                                           Attorney at Law

           MTC | mar
           Enclosures:       Exhibit A: General Terms and Conditions
                             Exhibit B: Fee and Cost Schedule
                             Exhibit C: Conflict Agreement
          Case 22-00211-NGH           Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49            Desc Main
                                                   Document
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9    Page 5 of 12


           Wellness Enhanced Lifestyle Living
           April 26, 2022
           Page 4 of 4




                                ACCEPTANCEOF ENGAGEMENTAGREEMENT

                 I have read the preceding letter and the attachments that follow, including the conflict
           agreement. I agree to the firm's representation on those terms.
                                                                  DocuSigned by:


                            4/27/2022
                   Dated:                                     .   69ABECQZ3A6EAIC.

                                                          Wellness Enhanced Lifestyle Living, LLC
                                                          By: Ryan H alter
         Case 22-00211-NGH             Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49              Desc Main
                                                     Document
DocuSign Envelope ID: 1C743055-8A05-4632-828E-727CC7271CD9    Page 6 of 12




                                                         EXHIBIT A

                                                      JOHNSON MAY

                                               General Terms and Conditions

                  Client. The terms "you" and the "client" are used interchangeably in this Chapter 7
            Bankruptcy Engagement Agreement; both refer to Wellness Enhanced Lifestyle Living.

                  ScopeofWork. A descriptionofthe initial scope ofwork hasbeenprovidedto you. You
           may alter the scope of work or authorize additional work or new matters orally or in writing.
           Unless otherwise provided and confirmed in writing, all matters will be subject to this Chapter 7
           Bankruptcy EngagementAgreement.

                   Billing Procedures. The firm typically provides monthly billing statements by regular
           mail. Billing statements are broken out by matter and are sent to the person and address identified
           for the particular matter. Please advise us if you would like the matters to be organized differently
           or if you wish for the statements to be directed to a different person.

                   Late Fees. The amounts shown on the firm's statements are payable within thirty (30)
           days after the date ofthe statement (unless chargeableto a RetainerFund). Statementsthat are not
           paid within thirty days (30) will be assessed a late payment charge at the rate of one and one-half
           percent per month (18. 0 % per annum) on the unpaid balance.

                   Billing Questions. The firm will be pleased to answer any questions you have about
           billing. If you have concerns about any portion of a bill, please raise them promptly. We expect
           you to pay without delay all but the disputed or questioned portion of the bill. The firm's
           acceptance of partial payment does not constitute an accord and satisfaction. Any concerns or
           disputes about billing should be addressed promptly by both the client and the firm. Ifthe dispute
           cannot be resolved, either client or the firm is free to terminate the representation, while the other
           party retains all rights and remedies.

                   Fees. In this casewe havenegotiateda fixed fee agreementfor the specificprojects listed.
           This fixed fee does not cover any services not specifically listed in the Agreement.

                  Billable Time. The client will be charged for all time spent by timekeepers performing
           work reasonableandappropriate for your representation. This includes attorneys, paralegals, and
           legal analysis and research, review and drafting of documents, telephone calls, correspondence,
           meetings, responding to client inquiries, site visits, data gathering and preparation, outlining and
           budget development, strategy development, task coordination, drafting and negotiation of
           agreements, lobbying, presentations, and travel.

                   Billable Costs. The client may be billed for all costs appropriately incurred on behalfof
           the client. This may include postage, long distance telephone, photocopying, messenger service,
           electronic research fees (such as Westlaw or Lexis), staffovertime on specific rush projects, filing
           fees, and travel costs including meals and mileage. If extraordinary costs are expected to be
           incurred, the client will be advised in advanceand may be askedto make advancepayment.
          Case 22-00211-NGH              Doc 3   Filed 05/18/22 Entered 05/18/22 16:17:49                 Desc Main
                                                   Document
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9     Page 7 of 12



                   Nonbillable Time and Costs. The firm does not bill the client for routine secretarial costs,
           word processing or internet connections.

                   Estimates. For most matters, it is difficult to predict the amount of time that will be
           required, particularly where legal research, negotiation or litigation are involved. Therefore, any
           estimates of fees or costs provided to the client are not guarantees or caps on the fees that may be
           incurred, unless expressly provided in writing.

                   Retention of Experts and Other Professionals. From time to time, it may be necessary
           to retain experts, consultants, mediators or other professionals outside of this firm in connection
           with our representation of you. Ordinarily, such professionals will submit their bills directly to
           you, and you will be solely responsible for paying their fees and costs. In some instances, it may
           be advantageous for the professionals to be retained directly by this firm. The firm agrees to add
           no administrative or overhead charge to fees or costs billed by the consultant or other professional.
           In the event that this firm pays their fees and costs, you will be responsible to promptly reimburse
           the firm therefore. Ifthe feesare expectedto be substantial,you may beaskedto provide advance
           funding. Whatever the arrangement, we will always obtain your approval before retaining any
           professional outsidethis firm.

                   Confidentiality. The firm is obligated to protect the client's secrets and confidences, as
            provided in the Idaho Rules of Professional Conduct. This obligation continues after the firm's
            representation is terminated. In special cases, confidentiality may be addressed in a separate
            written agreement. If you have provided an email address to my firm, you acknowledge that the
            email that was provided to us is secure, the account belongs to you, and there will not be a waiver
            of the attorney-client privilege and/or breach of the duty of confidentiality if my firm sends
            documents and/or correspondence to that account.

                   Work Product. The client is entitled to copies of all work product developed by the firm
            onthe client's behalf. However,the firm may withholdworkproduct ifthe client hasfailedto pay
            fees and costs properly charged to the client.

                    File Retention. The firm generally keeps each client's legal files for at least five (5) years
            after the file is opened, after which time the files may be subject to destruction. Ifthe client wishes
            the firm to keep the files for a longer period, the client should advise the firm in writing as promptly
            as practical. Unless otherwise directed, the firm will maintain original copies of executed
            documents, and provide the client with a photocopy thereof. Please keep all documents provided
            to you in a safe location.

                    Termination by Client. The client may terminate its relationship with the firm unilaterally
            at any time upon written notice to the firm. Termination shall not affect the client's obligation to
            pay for services rendered. This includes fixed fees (if any), fees and costs associated with the
            provision of services prior to termination, and fees and costs necessarily incurred by the firm in
            order to wind down or hand over the work.

                  Suspension of Work. The client's failure to timely pay bills may result in immediate
            suspension of services being provided by the firm. Suspension will not occur without prior notice
            to the client and an opportunity to cure.
         Case 22-00211-NGH           Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49               Desc Main
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9
                                                  Document  Page 8 of 12




                   Withdrawal by Firm. The firm reserves the right to withdrawfrom this representation
           with the client's consent or for good cause. Good cause may include the client's failure to honor
           the terms ofthe Chapter 7 Bankruptcy Engagement Agreement, the client's failure to pay amounts
           billed in a timely manner, the client's failure to cooperate or follow the firm's advice on a material
           matter, or any fact or circumstance that would, in the firm's view, impair an effective attomey-
           client relationship or would render the firm's continuing representation unlawful or unethical. If
           the firm withdraws, the client will take all steps necessary to free the firm of any obligation to
           perform further, including the execution of any documents (including forms for substitution of
           counsel) necessary to complete its withdrawal, and the firm will be entitled to be paid for all
           services rendered as well as disbursements, costs, and other charges made or incurred on behalf of
           the client prior the date ofthe withdrawalor necessarily incurred in the course of winding down
           or handing work over.
          Case 22-00211-NGH           Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49         Desc Main
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9
                                                   Document  Page 9 of 12


                                                      EXHIBIT B

                                                  JOHNSONMAY

                                                Fee and Cost Schedule
                                                  Professional Fees

                   Billing rates for attorneys at Johnson May range between $215 and $375 per
           hour. Paralegal billing rates range between $95 and $175 per hour. A complete fee schedule for
           all firm timekeepers is availableupon request.

                   The hourly fees oftimekeepers currently expected to be associated with this
           representation are listed below.

                   Wyatt B. Johnson                                           $375 per hour
                   Matthew T. Christensen                                     $375 per hour
                   J. Justin May                                              $375 per hour
                   Shell Fulcher Koontz                                       $375 per hour
                   Michelle Points                                            $350 per hour
                   NatashaN. Hazlett                                          $325 per hour
                   Louis Spiker                                               $375 per hour
                   Bart Browning                                              $275 per hour
                   J. Dee May                                                 $275 per hour
                   Chad R. Moody                                              $265 per hour
                   Chris Slette                                               $230 per hour
                   Allison Johnson                                            $230per hour
                   JanineReynard                                              $275 per hour
                   Jared Nelson                                               $195 per hour
                   Melanie Anderson                                           $175 per hour
                   Caroline Cortens                                           $175 per hour
                   Sheri Mitchell                                             $130per hour
                   Jessica Brocious                                           $130 per hour
                   Juli LaMont                                                $130 per hour
                   Candice Booher                                             $150 per hour
                   Megan Richmond                                             $95 per hour
                   Amber Kaiser                                               $95 per hour
                   Abbie Stephens                                             $95 per hour

                   The rates quoted above are for the year 2022. Billing rates are subject to adjustment
            annually. Any adjustment in the hourly rate or additional personnel will be reflected in your
            monthly billing statements.
          Case 22-00211-NGH              Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49         Desc Main
DocuSign Envelope ID: 1C743055-8A05^632-828E-727CC7271CD9
                                                  Document     Page 10 of 12




                                                             Costs

                     Costs are subjectto adjustment annually. Any adjustmentwill be reflected in the monthly
            billing statements presented to the client. The firm does not charge an overhead or administrative
            fee for services contracted on a client's behalf.


                                   Photocopying                 $0. 20/page All Copies Over 500
                                   Messenger Service            On a case to case matter
                                   Westlaw/Lexis                Prevailing rate
                                   Long Distance Telephone      Prevailing rate
                                   Overtime StaffCharges        $25. 00/hour
                                   Facsimile                    No Charge
          Case 22-00211-NGH            Doc 3      Filed 05/18/22 Entered 05/18/22 16:17:49                Desc Main
DocuSignEnvelope ID: 1C743055-8A05-4632-828E-727CC7271CD9
                                                  Document    Page 11 of 12


                                                          EXHIBIT C

                                                       JOHNSON MAY

                                                      Conflict Agreement

                  Our representation of you is governed by the Rule 1 . 7 of the Idaho Rules of Professional
           Conduct. 111 This rule prohibits the firm from representing two clients where our representation of
           one client would be directly adverse to another client unless three conditions are met: (1) the
           circumstances are fully explained, (2) each client expressly waives the conflict with written
           confirmation, and (3) it is reasonable for us to ask them to do so. The purpose of this Conflict
           Agreement is to advise you of actual and potential conflicts and obtain your informed consent
           before we undertake your representation. By agreeing to this representation, you hereby waive the
           conflicts of interest described here.
                                         No Direct Conflicts of Interest are Anticipated

                   The firm is not aware of any direct conflicts of interest with respect to our representation
           of you. By direct conflicts, we mean situations in which you and another client have directly
           conflicting positions or objectives, and our representation ofat least one party involves advocating
           that position or pursuing that objective.
                                                      Indirect Conflicts of Interest

                   In addition to the direct conflicts discussed above, it is possible that the interests ofyourself
            and those of our other clients could be at odds on matters not directly related to our representation


            [1] Rule 1.7 ofthe IdahoRules ofProfessionalResponsibility (effective July 1, 2004) provides:

            RULE 1. 7: CONFLICTOF INTEREST: CURRENT CLIENTS

                    (a)    Except as provided in paragraph (b), a lawyer shall not represent a client if
                           the representation involves a concurrent conflict of interest. A concurrent
                            conflict of interest exists if:
                            (1)     the representation of one client will be directly adverse to another
                                    client; or
                            (2)     there is a significant risk that the representation of one or more
                                    clients will be materially limited by the lawyer's responsibilities to
                                    another client, a former client or a third person or by the personal
                                   interests ofthe lawyer, includingfamily anddomestic relationships.
                    (b)     Notwithstanding the existence of a concurrent conflict of interest under
                            paragraph(a), a lawyermay represent a client if:
                            (1)    the lawyer reasonably believes that the lawyer will be able to
                                   provide competent and diligent representation to each affected
                                    client;
                            (2)     the representation is not prohibitedby law;
                            (3)     the representation does not involve the assertion of a claim by one
                                    client against another client represented by the lawyer in the same
                                    litigation or other proceedingbefore a tribunal; and
                            (4)     each affectedclient gives informed consent, confirmed in writing.
          Case 22-00211-NGH               Doc 3     Filed 05/18/22 Entered 05/18/22 16:17:49
DocuSign Envelope ID: 1C743055-8A05-4632-828E-727CC7271CD9
                                                                                                        Desc Main
                                                   Document     Page 12 of 12


            ofyou. You should be aware that the firm's lawyers are engaged in matters on behalfof a wide
            variety of clients. This includes, among others, businesses and industries of all types, banks and
            other financial institutions, business owners, venture capitalists, trusts, doctors andhospitals, trade
            organizations, real estate investors and developers, professional groups, industry associations,
            homeowner groups, citizen groups, user groups, policy advocacy organizations, nonprofits, and
            governmental entities at all levels, as well as other public and quasi-public entities. We represent
            these persons and entities in private transactions as well as matters before courts, agencies,
            regulatory and governmental bodies, and state and federal legislatures. Consequently, the firm's
            lawyers are frequently engaged in a variety of public policy, regulatory, and legislative matters
            with broad implications.

                    It is not unlikely that we may now or in the future represent other persons or entities in
            your industry or business. In some cases, this may include direct competitors of yours. It might
            also include those with whom you have commercial, financial, regulatory, or other relationships.

                   It is possible that somethingthat we do on behalfofone client might have implications or
            repercussions for your business. For instance, any time we help another client buy a piece of
            property, that investment opportunity is not available to you. Likewise, there could be instances
            in which we pursue a policy issue or legal precedent on behalf of one client that you might not
            consider favorable or desirable.

                   In some cases, our clients may be your businesscompetitors or those with whom you have
            commercial, financial, regulatory or other relationships. Likewise, we represent clients that may
            hold viewpoints or advocate public policy positions contrary to yours. We may also represent
            governmental bodies with whichyou deal on other issues.

                   We also represent clients that may hold viewpoints or advocate public policy positions
            contrary to those ofyou. By agreeingto this representation, you haveagreedon behalfofyourself
            not to disqualify me or my firm from representing any other client on the basis that the work we
            are doing for the other client is contrary to the policies, goals, or business objectives of yours so
            long as the work for the other client is unrelated to the matters on which you have engaged this
            firm.

                                           Future Conflicts and Termination of Representation

                    As stated in the Chapter 7 Bankruptcy Engagement Agreement, you may end our legal
            representation of you at any time. However, by entering into this Chapter 7 Bankruptcy
            Engagement Agreement, you agree not to object to our representation of other existing or future
            clients as disclosed and described in this Conflict Agreement.
